     Case 1:20-cr-00093-JLT-SKO Document 62 Filed 06/19/20 Page 1 of 2


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 8                               UNITED STATES DISTRICT COURT

 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                 No. 1:20-cr-00093-NONE-SKO
12                  Plaintiff,
13         v.                                  ORDER RELATING AND REASSIGNING
                                               CASES
14   JOSE AVALOS-CASTRO,
15                  Defendant.
16
     UNITED STATES OF AMERICA,                 No. 1:20-cr-00094-DAD-BAM
17
                    Plaintiff,
18
           v.
19
     REYNALDO VILLANUEVA,
20
                    Defendant.
21

22
     UNITED STATES OF AMERICA,                 No. 1:20-cr-00096-NONE-SKO
23
                    Plaintiff,
24
           v.
25
     PEDRO DURAN,
26
                    Defendant.
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     Case 1:20-cr-00093-JLT-SKO Document 62 Filed 06/19/20 Page 2 of 2


 1          Review of the court record in above-referenced actions reveals that they are related to

 2   each other under Local Rule 123. These actions involve the same or similar parties, properties,

 3   claims, events, and/or questions of fact or law. In addition, the currently assigned district and

 4   magistrate judges have not engaged each of the respective actions in any substantial way.

 5   Accordingly, assignment of the actions to the undersigned and to Magistrate Judge Sheila K.

 6   Oberto will promote efficiency and economy for the court and parties.

 7          An order relating cases under this court’s Local Rule 123 merely assigns them to the same

 8   district judge and magistrate judge, and does not consolidate the cases. Good cause appearing,

 9   the court orders that the above-referenced actions are to be reassigned to Unassigned District

10   Judge and U.S. Magistrate Sheila K. Oberto.

11          Accordingly, all documents filed in the above-referenced actions shall now bear the

12   following case numbers:

13                                      1:20-cr-00093-NONE-SKO

14                                      1:20-cr-00094-NONE-SKO

15                                      1:20-cr-00096-NONE-SKO

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     IT IS SO ORDERED.
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18      Dated:     June 19, 2020
                                                        UNITED STATES DISTRICT JUDGE
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